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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORlDA

 

CASE NO. 05-60985-ClV-GRAHAl\/l/O'SULLIVAN

ULYSSES J. HUDSON,
Plaintiff,
vs.

l\/[ICHAEL CHERTOFF, as Secretary of the
United States Department of Homeland
Securit`y,

Defendant.

 

MEDIATION STATUS REP()RT

The parties met on October 15, 2007 and participated in mediation. After mediating in good
faith, the parties have reached full and complete settlement of this matter. The parties request sixty (60)
days for completion of settlement documents
Dated: October 15, 2007
Respectfully submitted,

AKERMAN SENTERFITT

SunTrust lnternational Center, 25th Floor
One Southeast Third Avenue

l\/liami, Florida 33131-1704

Phone: (305) 374-5600

Fax: (305 374- 5095

Email: rd. davis@akerman. com

()/L>M¢/ZL/

E/dward B. Davis (Acting as l\/lediator)
Florida Bar No.:18233

 

By:

{M2610464;l}

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Case No. 05-60985-CIV-Graham/O'Sullivan

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished by electronic mail this
15th day of October, 2007 to: Jason K. Kellogg, Esq.., Hogan & Hartson L.L.P., llll Brickell Avenue,
Suite 1900, Miami, Florida 33131; and to Ann M. St. Peter-Griftith, Esq., United States Attorney's
Off`lce, 99 N.E. 4“‘ Street, l\/liami, Florida 33132.

 

By:

 

‘Edward B. Davis

{M2610464;1}
MI761490;1 2

